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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

 

IN RE: ANDROGEL ANTITRUST Master Docket No.
LITIGATION (NO. IT) 1:09-MD-2084-TWT
ALL CASES

 

FEDERAL TRADE COMMISSION | Case No. 1:09-cv-955-TWT
v. ACTAVIS, INC.

 

 

STIPULATION BETWEEN ALL PLAINTIFFS AND DEFENDANT
ACTAVIS, INC.

WHEREFORE, Plaintiffs have sought discovery from Defendant Actavis as
defined in the Rule 30(b)(6) Notice of Deposition served on Actavis’s counsel on
October 9, 2015 (the “30(b)(6) Notice”) with respect to, among other things,
whether Actavis had the facilities, equipment, and operational ability to
manufacture and launch a generic version of AndroGel 1%; and

WHEREFORE, Defendant Actavis does not intend to offer a defense based
on its lack of facilities, equipment, or operational ability to manufacture a generic
version of AndroGel 1% from September 13, 2006, the date of the Unimed-Watson
Final Settlement and Release Agreement, to August 31, 2015, the agreed-upon
entry date in the Unimed- Watson Patent License Agreement (Exhibit A to the

Unimed-Watson Final Settlement and Release Agreement); and
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WHEREFORE, all parties wish to avoid the burden and expense of
unnecessary discovery;

Plaintiffs' and Defendant Actavis hereby stipulate as follows:

1, Actavis will not offer any defense in this case based on any claim that
it lacked the facilities, equipment, or operational ability to manufacture and launch
a generic version of AndroGel 1% at any time from September 13, 2006 to August
31, 2015.

2. The following facts are not in dispute and may be presented to the
Court and jury as undisputed:

(A)  Actavis’s manufacturing facilities were adequate and sufficient to

manufacture and launch a generic version of AndroGel 1% at all times

during the time period from September 13, 2006 to August 31, 2015;

(B) During the time period from September 13, 2006, to August 31, 2015,

Actavis possessed or readily could have obtained all of the equipment

necessary to manufacture and launch a generic version of AndroGel 1% in

sachet packaging;

(C) During the time period from September 13, 2006, to August 31, 2015,

Actavis could have been in position from a manufacturing perspective to

 

For the avoidance of doubt, “Plaintiffs” encompasses all private plaintiffs

and the Federal Trade Commission.
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launch a generic version of AndroGel 1% in sachet packaging on 2 months’
notice (subject to regulatory approval);

(D) Since June 1, 2014, Actavis has possessed all of the equipment
necessary to manufacture and launch a generic version of AndroGel 1% in
metered pump packaging;

(E) Atany time since June 1, 2014, Actavis could have been in position
from a manufacturing perspective to launch a generic version of AndroGel
1% in metered pump packaging with 3-4 months’ notice (subject to
regulatory approval);

(F) Prior to June 1, 2014, Actavis could have obtained, installed, and
qualified all of the equipment necessary to manufacture and launch a generic
version of AndroGel 1% in metered pump packaging and could have been in
position from a manufacturing perspective to launch such a generic version
of AndroGel 1% in metered pump packaging with 18 months’ notice
(subject to regulatory approval); and

(G) Actavis did not experience any problems or issues related to its
facilities, equipment, or operations that would have prevented Actavis’s
manufacture and launch of a generic version of AndroGel 1% at any time

during the time period from September 13, 2006 to August 31, 2015.
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3, Based on the above, Plaintiffs will not serve additional requests for
production on Actavis nor pursue further deposition testimony from Actavis
concerning whether it had the facilities, equipment, and operational ability to
manufacture and launch a generic version of AndroGel 1% at any time during the
time period from September 13, 2006 to August 31, 2015.

4, Plaintiffs specifically withdraw their request to depose John Spigiel.
Additionally, Plaintiffs agree that Topics 1-9 of the 30(b)(6) Notice shall be
deemed amended to exclude any questioning on whether Actavis had the facilities,
equipment, or operational ability to launch a generic version of AndroGel 1% at
any time during the time period from September 13, 2006 to August 31, 2015.

5. For the avoidance of doubt, this stipulation does not affect Actavis’s
ability to offer defenses based on an inability to manufacture and launch due to
regulatory hurdles or the unavailability of supplies or materials required to produce
a generic version of AndroGel 1%. Nor does it affect Plaintiffs’ ability to seek
deposition testimony in depositions noticed prior to March 1, 2016, or other
evidence regarding Actavis’s ability to manufacture and launch due to the
regulatory status of Actavis’s proposed generic version of AndroGel 1% or
regarding the availability of supplies or materials required to produce Actavis’s
generic version of AndroGel 1% during the time period from September 13, 2006

to August 31, 2015. For the avoidance of doubt, however, consistent with the
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Court’s comments at the March 1, 2016, status conference, this paragraph shall not

be construed as consent by Actavis to the service of any additional written

discovery requests.

6. Any of Plaintiffs’ experts may reasonably rely upon this stipulation

pursuant to Rule 703 of the Federal Rules of Evidence.

As agreed by Plaintiffs and Defendant Actavis this 14th day of March, 2016.

By: /s/Saralisa C. Brau

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Practicing pursuant to this Court’s
Initial Case Management Order

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So ORDERED, this day of

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, 2016.

 

 

Thomas W. Thrash, Jr.
United States District Judge
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CERTIFICATE OF SERVICE

 

I, Kenneth S. Canfield, certify that a true and correct copy of the foregoing
Stipulation Between All Plaintiffs and Defendant Actavis, Inc. has been
electronically filed with the Clerk of Court via ECF on this 14™ day of March,
2016, which will send notification of such filing to all counsel of record.

/s/ Kenneth S. Canfield
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